                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 08-4060
 vs.                                              ORDER REGARDING
                                               MAGISTRATE’S AMENDED
 MICHAEL BREAMAN,                          REPORT AND RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                            GUILTY PLEA
                                ____________________


                      I. INTRODUCTION AND BACKGROUND
       On November 20, 2008, a one-count Third Superseding Indictment was returned
against the defendant Michael Breaman. On November 25, 2008, the defendant appeared
before United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Count
1 of the Third Superseding Indictment. On November 26, 2008, Judge Zoss filed an
Amended Report and Recommendation in which he recommended that defendant’s guilty
plea be accepted. No objections to Judge Zoss' Report and Recommendation were filed.
The court, therefore, undertakes the necessary review of Judge Zoss' recommendation to
accept defendant’s plea in this case.


                                        II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the

   Case 5:08-cr-04060-LTS-KEM           Document 331     Filed 12/10/08    Page 1 of 2
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss' Amended Report and Recommendation of
November 26, 2008, and accepts defendant’s plea of guilty in this case to Count 1 of the
Third Superseding Indictment.
      IT IS SO ORDERED.
      DATED this 10th day of December, 2008.




   Case 5:08-cr-04060-LTS-KEM         Document 331      Filed 12/10/08    Page 2 of 2
